                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE                       Motion GRANTED for
                                 NASHVILLE DIVISION                                extension to 5/19/14.

UNITED STATES OF AMERICA                      )
                                              )
                                              )
       v.                                     )        No. 3:13-00153-1
                                              )        JUDGE TRAUGER
                                              )
DORIAN AYACHE                                 )

   DEFENDANT’S UNOPPOSED MOTION TO CONTINUE MOTIONS DEADLINE

       Defendant Dorian Ayache respectfully moves the Court to continue his deadline to file

pretrial motions, which is today, by one working day, until Monday, May 19, 2014. Undersigned

counsel is in the midst of preparing a pretrial motion, but to ensure it is accurate needs to have

staff review hundreds of pages of discovery materials. AUSA William Abely has stated that he

does not oppose this request.

                                              Respectfully submitted,

                                               /s/ Michael C. Holley
                                              MICHAEL C. HOLLEY, BPR # 021885
                                              Assistant Federal Public Defender
                                              810 Broadway, Suite 200
                                              Nashville, Tennessee 37203
                                              (615) 736-5047

                                              Attorney for Dorian Ayache

                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 16, 2014, I electronically filed the foregoing Motion to
Continue Motions Filing Deadline with the clerk of the court by using the CM/ECF system,
which will send a Notice of Electronic Filing to the following: Mr. William Abely, Assistant
United States Attorney, 110 Ninth Avenue South, Suite A961, Nashville, TN 37203.

                                                s/ Michael C. Holley
                                              MICHAEL C. HOLLEY




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